
PER CURIAM
*408*800Appellant seeks reversal of a judgment committing her to the custody of the Oregon Health Authority for a period not to exceed 180 days under ORS 426.130(1)(a)(C) and an order prohibiting her from purchasing or possessing firearms under ORS 426.130(1)(a)(D). Appellant contends that the trial court plainly erred by failing to advise her of all the "possible results of the proceedings" as required by ORS 426.100(1)(c). The state concedes the error, and we agree that the court's failure to provide appellant with the information that ORS 426.100(1) requires constitutes plain error. See, e.g. , State v. M. L. R. , 256 Or. App. 566, 570-71, 303 P.3d 954 (2013) ( "[The] failure to provide a person with all of the information required by ORS 426.100(1) constitutes an egregious error that justifies plain error review."). We further conclude that it is appropriate to exercise our discretion to correct the error for the reasons stated in M. L. R. , id . at 570-72, 303 P.3d 954 (nature of the civil commitment proceedings, the gravity of the violation, the ends of justice, and the lack of harmless error).
In doing so, we reverse both the judgment of commitment and the order prohibiting appellant from purchasing and possessing firearms. See State v. R. C. S. , 291 Or. App. 489, 490, 415 P.3d 1164 (2018) (reversing both the commitment judgment and the order prohibiting appellant from purchasing and possessing firearms); State v. Z. A. B. , 266 Or. App. 708, 709, 338 P.3d 802 (2014) (" 'Finding that an individual "is a person with mental illness" is a condition precedent to the issuance of an order prohibiting the purchase or possession of a firearm, ORS 426.130(1)(a)(D).' " (Quoting State v. W. B. , 264 Or. App. 777, 778, 333 P.3d 1099 (2014).)).1
Reversed.

In State v. S. F. , 291 Or. App. 261, 267 n. 1, --- P.3d ---- (2018), we noted the statutory scheme, enacted subsequent to appellant's commitment hearing and now codified as ORS 166.525 to 166.543, that provides for extreme risk protection orders concerning deadly weapons, including firearms.

